8:13-cr-00043-JMG-FG3    Doc # 456   Filed: 09/22/14   Page 1 of 2 - Page ID # 1322




               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                             8:13-CR-43

vs.
                                                           ORDER
DOLORES MARIA TORRES,

                  Defendant.

       This matter is before the Court on the above-captioned defendant's
objection (filing 455) to the Magistrate Judge's order (filing 453) striking her
motion to dismiss (filing 451) as untimely. The objection will be overruled.
       At arraignment in a criminal case, the Magistrate Judge sets discovery
and pretrial motion deadlines. NECrimR 12.3(a); see also, Fed. R. Crim. P.
12(c); United States v. Green, 691 F.3d 960, 965-66 (8th Cir. 2012); United
States v. Salgado-Campos, 442 F.3d 684, 685-86 (8th Cir. 2006). "These dates
are strictly enforced." NECrimR 12.3(a). The defendant was arraigned on
January 13, 2014, and an order entered the same day set a pretrial motion
deadline of February 3. Filing 233. That deadline elapsed without extension.
Nonetheless, on September 19, the defendant filed a motion to dismiss. Filing
451. That motion was supported by a brief (filing 444), but no evidence was
submitted. See NECrimR 12.3(b)(2). And more pertinently, the defendant
neither requested leave to file an untimely motion, see NECrimR 12.3(a), nor
explained any good cause for relief from the deadline. See, id.; Fed. R. Crim.
P. 12(e); Green, 691 F.3d at 965-66; Salgado-Campos, 442 F.3d at 685-86. The
Magistrate Judge struck the motion as untimely. Filing 453.
       In response, the defendant has objected. Filing 455. For the first time,
in her objection, the defendant attempts to explain why she filed an untimely
motion. She asserts that the Magistrate Judge's ruling "is based on the
assumption that all relevant information was available to file such motion at
the time discovery was exchanged." Filing 455 at 1. Of course, the Magistrate
Judge had nothing to rely upon but that assumption, because the defendant
provided nothing else to rely upon. And the defendant has still not explained
why the information, upon which her motion to dismiss relies, was not
reasonably available to her well before now—if not from the U.S. Attorney,
then from the previous counsel or the defendant herself. In fact, the
defendant has, again, provided no evidence supporting her factual claims.
8:13-cr-00043-JMG-FG3   Doc # 456   Filed: 09/22/14   Page 2 of 2 - Page ID # 1323




      But more problematic is the defendant's disregard for basic procedure:
the defendant is objecting to the Magistrate Judge's order on grounds that
were not put before the Magistrate Judge in the first instance. The proper
procedure, if there is good cause to extend the pretrial motion deadline, is to
request an extension from the Magistrate Judge, and support that request
with evidence establishing good cause, as required by NECrimR 12.3(a) and
Fed. R. Crim. P. 12(e). The defendant's disregard for that procedure—and her
failure, even now, to provide a showing of good cause—precludes the Court
from finding that the Magistrate Judge erred in any respect.

      IT IS ORDERED:

      1.    The defendant's Statement of Objection (filing 455) is
            overruled.

      Dated this 22nd day of September, 2014.

                                           BY THE COURT:



                                           John M. Gerrard
                                           United States District Judge




                                     -2-
